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                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                      )            COURTROOM MINUTES - CRIMINAL
                                                               )              BEFORE: BECKY R. THORSON
                                          Plaintiff,           )                  U.S. Magistrate Judge
                                                               )
   v.                                                          )    Case No:              20-cr-232 JRT/KMM
                                                               )    Date:                 November 5, 2020
Amondo Antoine Miller (19),                                    )                          Video Conference
                                                               )    Time Commenced:       2:59 p.m.
                                          Defendant,           )    Time Concluded:       3:13 p.m.
                                                                    Time in Court:        14 minutes




APPEARANCES:
   Plaintiff: Harry Jacobs, Assistant U.S. Attorney
   Defendant: Manny Atwal, First Assistant Federal Public Defender
                   X FPD          X To be appointed

   Date Charges Filed:                    10/20/2020   Offense: Conspiracy to commit mail fraud; wire fraud

                 X Waived Reading of Charges                  X Advised of Rights

on            X Indictment


Released on conditions set forth in the District of Colorado and additional conditions. Order forthcoming.


X Defendant also arraigned at this hearing, see separate arraignment minutes.


Additional Information:

X Defendant consents to this hearing via video conference.


                                                                                                      s/ACH
                                                                                                    Signature of Courtroom Deputy




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